           Case 1:21-cv-03257-SAG Document 21 Filed 03/29/22 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *
IN RE SUBPOENAS ISSUED TO PETER                   *
ANGELOS LAW, P.C., IN IN RE                       *
BESTWALL, LLC, CASE NO.                           *
3:17-BK-31795-LTB, PENDING IN THE                 *       Civil Case No. 1:21-cv-3257-SAG
BANKRUPTCY COURT FOR THE                          *
WESTERN DISTRICT OF NORTH                         *
CAROLINA                                          *
                                                  *
                                                  *
*      *       *       *      *       *       *       *      *       *       *       *       *     *

                                             ORDER

       For the reasons stated on the record at today’s motions hearing, it is this 29th day of March,

2022, by the United States District Court for the District of Maryland, ORDERED that Peter

Angelos Law, P.C.’s Motion to Quash or Modify Bestwall LLC’s Subpoena Duces Tecum and

Subpoena Ad Testificandum is DENIED except insofar as the subpoenas were modified on the

record at today’s hearing. The Clerk is directed to CLOSE this case.



Date: March 29, 2022                                                     /s/
                                                             Stephanie A. Gallagher
                                                             United States District Judge
